Case 1:25-cv-20757-JB Document 20-2 Entered on FLSD Docket 04/03/2025 Page 1 of 2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

(MIAMI DIVISION)
JANE DOE, CASE NO: 1:25-ev-20757-JB
Plaintiff,
Vv.
STEVEN K. BONNELL I,
Defendant.

UNSWORN STATEMENT UNDER PENALTY OF PERJURY OF
HANNAH DANIELS BROOKE PURSUANT TO 28 U.S.C. § 1746

I, Hannah Daniels Brooke, declare as follows:

1. Lam over 18 years of age, and competent to provide testimony under oath.

2. [have personal knowledge of the matters herein and, if called to testify at the trial of
this matter, | could competently testify as to the facts contained in this affidavit.

3. In or about August 2023, | started watching Steven Bonnell, II’s (aka “Destiny”) live
Streams and youtube videos and engaged as a fan.

4. In or about Apri) 2024, I started exchanging direct messages with Destiny on the
Discord platform. Our messages included some private sexual content.

In or about November 2024, | became aware that a sexually explicit video (“Video”)

in

that included Destiny and another streamer, Pxie (the Plaintiff in this action), had been
published on the internet.

6. On January 8, 2025, I reached out to Destiny via direct messages on Discord, and asked
how he was doing amidst all of the controversy and uproar regarding his non-

consensual sharing of the Video.
Case 1:25-cv-20757-JB Document 20-2 Entered on FLSD Docket 04/03/2025 Page 2 of 2

JANE DOE v STEVEN BONNELL
CASE NO: CASE NO: 1:25-cv-20757 JB
Page 2

7. On January 9, 2025, at 1:36 pm, Destiny offered to send me the Video: “ovooof | mean
I guess now that some shit has leaked Lmao, if you want videos of me eating I've got
“erm.”

8. Tresponded at [:55 pm, “Hahahaha nooo don’t show me that...those are super private
and I can’t even imagine how it fecls to have something so private be so public even
IF you are poly and very sexual in general,”

9. About two weeks later, I took screen shots of the above chat thread with Destiny, and
of some other messages between us as well.

10. Shortly thereafter, another streamer with the screen name JSTLK on Discord published
in his community chat threads between Destiny and other people, including my chat
thread with Destiny containing the above quoted messages.

11. Sometime in early February 2025, I realized that Destiny deleted all of his messages to

me in our chat thread on Discord,

Pursuant to 28 U.S.C. §1746, [ declare under penalty of perjury under the laws of the United
States of America that, to the best of my knowledge and understanding, the foregoing is true and
correct.

Executed in Cartersville, Georgia, this Ist day of April, 2025.

Hannah Daniels
